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                                         MICHAEL HUESTON
                                                ATTORNEY                  A T     LAW
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                                                                October 7, 2019
BY ECF
The Honorable Ann M. Donnelly
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                      Re: United States v. Lucio Celli, et al., 19 Cr. 127 (AMD)


Your Honor:
                      I represent Mr. Lucio Celli in the above-referenced case.

               I am writing to request that at the October 17, 2019 conference we discuss my
further representation of Mr. Celli, and ask that stand by counsel be present to advise him
regarding this matter.

                 I also write to request that Mr. Celli’s bail conditions be temporarily modified to
permit him to file a submission on or before October 17, 2019, in Combier v. Portelos, 18-3230,
which is in the United States Court of Appeals for the Second Circuit. The submission concerns
refilling a letter to “Hon. Katzman and Ms. Wolf Court’s Policy On Late Brief And Mandatory
Recusal.” The Government takes no position regarding this application, and Pretrial Services
opposes it.

               Mr. Celli is presently subject to the following bail conditions: a $150,000 bond
secured by two co-signers (his parents), cash payment and real property subject to a confession
of judgment; home detention; the surrender of his passport; no internet use; living with his
parents who serve as his third party custodians; mental health treatment; travel restrictions to the
Eastern and Southern Districts of New York and the City of New York; and pretrial supervision.
His contact with the federal court system is also restricted because of his case here.

                                                                                      Respectfully,

                                                                                      s/
                                                                                      Michael Hueston


cc:         A.U.S.A. Kayla Bensing
            Lucio Celli
